                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:05-cr-92
 vs.                                                   )
                                                       )       JUDGE COLLIER
 JAMES COULTER                                         )       MAGISTRATE JUDGE LEE

                              REPORT AND RECOMMENDATION


        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on March 9, 2006.

 At the hearing, defendant entered a plea of guilty to Count One of the Second Superseding

 Indictment. There is no plea agreement in this case. On the basis of the record made at the hearing,

 I find the defendant is fully capable and competent to enter an informed plea; the plea is made

 knowingly and with full understanding of each of the rights waived by defendant; the plea is made

 voluntarily and free from any force, threats, or promises, the defendant understands the nature of the

 charge and penalties provided by law; and the plea has a sufficient basis in fact.

        I therefore RECOMMEND defendant’s plea of guilty to Count One of the Second

 Superseding Indictment be accepted, that the Court adjudicate defendant guilty of the charges set

 forth in Count One of the Second Superseding Indictment. I further recommend that defendant

 remain in custody until sentencing in this matter. Acceptance of the plea, adjudication of guilt, and

 imposition of sentence are specifically reserved for the district judge.

 Dated: March 9, 2006

                                                s/Susan K. Lee
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE




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                                        NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than ten days after the plea hearing. Failure to file
 objections within ten days constitutes a waiver of any further right to challenge the plea of guilty
 in this matter. See 28 U.S.C. §636(b).




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